                  Case 18-31137           Doc 19    Filed 02/25/19   Entered 02/25/19 15:31:44     Page 1 of 7




                                                   UNITED STATES BANKRUPTCY COURT
                                                           DISTRICT OF CONNECTICUT

                                 In re:                                               Case No.: 3:18-bk-31137 amn

                                 ANTHONY WILLIAM RICH JR.                             Chapter: 7

                                                     Debtor.                          ECF No. 19
                           _____________________________________/


                                           AMENDED MOTION TO RE-OPEN BANKRUPTCY CASE


                                 COMES NOW the Debtor-Movant in the above-captioned action, ANTHONY

                           WILLIAM RICH JR., by and through undersigned Counsel, and hereby Respectfully

                           Moves this Honorable Court for an Order Re-Opening the Debtor’s Chapter 7

                           bankruptcy case in order to file Form 423 and the Debtor’s Certificate of Completion of

                           Personal Financial Management course, pursuant to 11 U.S.C. §350(b) and Fed. R.

                           Bankr. P. 5010.

                                 In support hereof, Debtor-Movant Respectfully Represents as follows:


                                                             JURISDICTION AND VENUE

                                 1. This Honorable Court has jurisdiction over this matter pursuant to 28

                                   U.S.C. §§ 157 & 1334. This is a “core proceeding” pursuant to 28

                                   U.S.C. § 157(b)(2)(B).       Venue of Debtor's Chapter 7 case and this

                                   matter in this District is proper pursuant to 28 U.S.C. §§ 1408 & 1409.

                                 2. Debtor resides in Wallingford, Connecticut, and Debtor does not

                                   constitute a “single asset real estate” as that term is defined in 11
INZITARI LAW OFFICE, LLC
     PO BOX 261392
 HARTFORD, CT 06126-1392           U.S.C. § 101.
    TEL: (860) 863-4574
    FAX: (860) 863-4625
  FIRM JURIS NO. 434419
                                                                        -1-
                  Case 18-31137   Doc 19    Filed 02/25/19   Entered 02/25/19 15:31:44     Page 2 of 7



                                                         BASIS FOR RELIEF

                            3. The statutory predicate for the relief sought by Debtor is 11 U.S.C. §

                               350(b) and Fed. R. Bankr. P. 5010;

                            4. Section 350(b) of the Bankruptcy Code provides that:

                                   A case may be reopened in the court in which such case
                                   was closed to administer assets, to accord relief to the
                                   debtor, or for other cause;

                            5. Rule 5010 of the Federal Rules of Bankruptcy Procedure provides that,

                                   A case may be reopened on motion of the debtor or
                                   other party in interest pursuant to § 350(b) of the Code.
                                   In a chapter 7, 12, or 13 case a trustee shall not be
                                   appointed by the United States trustee unless the court
                                   determines that a trustee is necessary to protect the
                                   interests of creditors and the debtor or to insure
                                   efficient administration of the case;


                                                             ARGUMENT

                            6. Debtor-Movant filed a voluntary petition for relief under Chapter 7 of the

                               Bankruptcy Code, on JULY 9, 2018;

                            7. Barbara H. Katz, Esq. was appointed Trustee on July 9, 2018;

                            8. A § 341(a) Meeting was set for August 14, 2018 and the Meeting was

                               held at that time;

                            9. Objections to Discharge were due to this Honorable Court by October

                               15, 2018;

                           10. On November 13, 2018, the Trustee filed a Report of No Distribution;

INZITARI LAW OFFICE, LLC   11. Debtor’s Bankruptcy was a No-Asset Chapter 7;
     PO BOX 261392
 HARTFORD, CT 06126-1392
    TEL: (860) 863-4574
    FAX: (860) 863-4625
  FIRM JURIS NO. 434419
                                                                -2-
                  Case 18-31137       Doc 19   Filed 02/25/19    Entered 02/25/19 15:31:44     Page 3 of 7



                               12. The Debtor’s Bankruptcy case was closed on October 17, 2018, without

                                   a discharge entering due to Debtor’s failure to file Certification About a

                                   Financial Management Course (Official Form B423) proving compliance

                                   with the required instructional course requirement for discharge;

                               13. Debtor has completed the Personal Financial Management course

                                   (Form 423 and the Debtor’s Certificate of Completion of Personal

                                   Financial Management course are appended hereto);

                               14. Debtor hereby moves this Honorable Court to re-open the bankruptcy

                                   case at bar for purposes of filing the Debtor’s Form 423 and Certificate

                                   of Completion of Personal Financial Management course;


                                WHEREFORE,        for   the   foregoing   reasons,   the   Debtor-Movant     hereby

                           Respectfully Moves this Honorable Court to RE-OPEN Debtor’s Chapter 7 Bankruptcy

                           Case pursuant to 11 U.S.C. § 350(b) and Fed. R. Bankr. P. 5010.


                                Dated at GUILFORD, CONNECTICUT this 25th day of FEBRUARY, 2019.



                                                                           RESPECTFULLY SUBMITTED,
                                                                           THE DEBTOR, ANTHONY RICH,
                                                                           BY HIS ATTORNEY,



                                                                           _______________________________
                                                                           MICHAEL J. HABIB, ESQ. (CT29412)
                                                                           Inzitari Law Office, LLC
                                                                           P.O. Box 261392
                                                                           Hartford, CT 06126-1392
                                                                           Tel: (860) 863-4574
INZITARI LAW OFFICE, LLC                                                   Fax: (860) 863-4625
     PO BOX 261392
 HARTFORD, CT 06126-1392
                                                                           E-Mail: Mike@InzitariLawOffice.com
    TEL: (860) 863-4574
    FAX: (860) 863-4625
  FIRM JURIS NO. 434419
                                                                    -3-
   Fill in thisCase   18-31137
               information               Doc
                           to identify the case:19             Filed 02/25/19          Entered 02/25/19 15:31:44                       Page 4 of 7
  Debtor 1          ANTHONY WILLIAM RICH JR.
                    __________________________________________________________________
                      First Name                Middle Name             Last Name

  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name                Middle Name             Last Name


  United States Bankruptcy Court for the: __________    District of __________
                                          District of Connecticut

  Case number         18-31137
                      ___________________________________________
   (If known)




Official Form 423
Certification About a Financial Management Course                                                                                                     12/15

If you are an individual, you must take an approved course about personal financial management if:
 you filed for bankruptcy under chapter 7 or 13, or
 you filed for bankruptcy under chapter 11 and § 1141 (d)(3) DSSOLHV.

In a joint case, each debtor must take the course. 11 U.S.C. §§ 727(a)(11) and 1328(g).

After you finish the course, the provider will give you a certificate. The provider may notify the court that you have completed the course.
If the provider does notify the court, you need not file this form. If the provider does not notify the court, then Debtor 1 and Debtor 2 must
each file this form with the certificate number before your debts will be discharged.

 If you filed under chapter 7 and you need to file this form, file it within 60 days after the first date set for the meeting of creditors under
  § 341 of the Bankruptcy Code.

 If you filed under chapter 11 or 13 and you need to file this form, file it before you make the last payment that your plan requires or
  before you file a motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Bankruptcy Code. Fed. R. Bankr. P. 1007(c).

In some cases, the court can waive the requirement to take the financial management course. To have the requirement waived, you must file a
motion with the court and obtain a court order.

 Part 1:            Tell the Court About the Required Course


 You must check one:

    ✔
           I completed an approved course in personal financial management:

           Date I took the course              11/29/2018
                                              ___________________
                                              MM / DD / YYYY


           Name of approved provider           SAGE PERSONAL FINANCE
                                              ______________________________________________________________________


           Certificate number                  05781-CT-DE-031965382
                                              ______________________________________________________________________


          I am not required to complete a course in personal financial management because the court has granted my motion for a
           waiver of the requirement based on (check one):
                  Incapacity.     I have a mental illness or a mental deficiency that makes me incapable of realizing or making rational decisions
                                   about finances.

                  Disability.     My physical disability causes me to be unable to complete a course in personal financial management in person,
                                   by phone, or through the internet, even after I reasonably tried to do so.
                  Active duty. I am currently on active military duty in a military combat zone.

                  Residence. I live in a district in which the United States trustee (or bankruptcy administrator) has determined that the
                              approved instructional courses cannot adequately meet my needs.

 Part 2:         Sign Here

          I certify that the information I have provided is true and correct.


         /S/ Anthony William Rich, Jr.
          ________________________________________________                Anthony William Rich Jr.
                                                                          ________________________________________              02/22/2019
                                                                                                                           Date _________________
          Signature of debtor named on certificate                        Printed name of debtor                                MM / DD / YYYY


Official Form 423                                             Certification About a Financial Management Course
Case 18-31137     Doc 19    Filed 02/25/19    Entered 02/25/19 15:31:44            Page 5 of 7




                                             Certificate Number: 05781-CT-DE-031965382
                                             Bankruptcy Case Number: 18-31137


                                                           05781-CT-DE-031965382




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on November 29, 2018, at 1:44 o'clock PM PST, Anthony Rich
completed a course on personal financial management given by internet by Sage
Personal Finance, a provider approved pursuant to 11 U.S.C. § 111 to provide an
instructional course concerning personal financial management in the District of
Connecticut.




Date:   November 29, 2018                    By:      /s/Allison M Geving


                                             Name: Allison M Geving


                                             Title:   President
        Case 18-31137            Doc 19        Filed 02/25/19         Entered 02/25/19 15:31:44   Page 6 of 7

                           United States Bankruptcy Court
                                       District of Connecticut




In re: ANTHONY WILLIAM RICH JR.
                                                                                          Case Number: 3:18-bk-31137 amn
       Debtor*                                                                            Chapter: (7, 11 and 13)




                                   ORDER GRANTING MOTION TO REOPEN CASE

             Pursuant to 11 U.S.C. § 350(b) and Federal Rule of Bankruptcy Procedure 5010, (the "Movant"), filed
a Motion to Reopen the above−referenced case (the "Motion", ECF No. ). After notice of hearing, it appearing that
the relief sought in the Motion should be granted; it is hereby
             ORDERED: The Motion is GRANTED and the case is reopened; and it is further




United States Bankruptcy Court
District of Connecticut
450 Main Street, 7th Floor
Hartford, CT 06103

*For the purposes of this order, "Debtor" means "Debtors" where applicable.
                 Case 18-31137           Doc 19    Filed 02/25/19   Entered 02/25/19 15:31:44   Page 7 of 7




                                                  UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF CONNECTICUT

                                In re:                                            Case No.: 3:18-bk-31137

                                ANTHONY RICH                                      Chapter: 7

                                           Debtor.                                ECF No. 19
                           _____________________________/


                                           NOTICE OF CONTESTED MATTER RESPONSE DATE


                                ANTHONY RICH, (the “Movant”) has filed a MOTION TO RE-OPEN

                           BANKRUPTCY (the “Contested Matter”) with the U.S. Bankruptcy Court.


                                Notice is hereby given that any response to the Contested Matter must be filed

                           with the Court no later than MARCH 18, 2019, in accordance with Federal Rules of

                           Bankruptcy Procedure 2002(a) and 9014.*


                                In the absence of a timely filed response, the proposed order in the Contested

                           Matter may enter without further notice and hearing, see, 11 U.S.C. § 102(1).




                           Dated: FEBRUARY 25, 2019            By: ANTHONY WILLIAM RICH JR., Debtor-Movant




                           *Pursuant to Federal Rule of Bankruptcy Procedure 9006(f), if service is made
INZITARI LAW OFFICE, LLC   by mail, three days are added after the response date set in this notice.
     PO BOX 261392
 HARTFORD, CT 06126-1392
    TEL: (860) 863-4574
    FAX: (860) 863-4625
  FIRM JURIS NO. 434419
